   Case 2:17-cr-00038-MHT-GMB Document 132 Filed 04/27/18 Page 1 of 3



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                   )
                                           )          CRIMINAL ACTION NO.
        v.                                 )              2:17cr38-MHT
                                           )                  (WO)
REINIER PEREZ-RIVES                        )


                             OPINION AND ORDER

    On        April     19,        2018,        the     court     granted       the

government’s motion for a psychiatric examination of

defendant Reinier Perez-Rives and gave the government

seven    days      to   request      an        order   appointing       Dr.    Kale

Kirkland      to    conduct        the    examination.           On    April    25,

2018, the government requested such.

    Accordingly, it is ORDERED as follows:

    (1) Dr.           Kale        Kirkland,           of   Central        Alabama

         Psychology, P.C., 2571 Bell Rd., Montgomery, AL

         36117, is appointed to perform a psychological

         evaluation          of     defendant          Reinier        Perez-Rives

         pursuant to 18 U.S.C. § 3552(b).                       Dr. Kirkland is

         to    conduct       the    necessary          battery    of    tests   to

         provide the court with the requisite information
Case 2:17-cr-00038-MHT-GMB Document 132 Filed 04/27/18 Page 2 of 3




    regarding his findings, opinions, and conclusions

    as to how the mental condition of Perez-Rives

    should    affect     the    sentence,            including    but   not

    limited to any recommendations for treatment that

    could     address        any        identified          mental-health

    conditions or issues.

 (2) The government shall arrange for interpretive

    services to assist Dr. Kirkland in his evaluation

    of defendant Perez-Rives.

 (3) If     Dr.   Kirkland      judges      it       necessary    for   the

    examination and testing to occur at his office,

    the   United       States      Marshal       is    to    arrange    for

    defendant Perez-Rives to be present for the tests

    and/or examination there.

 (4) The government is to file, and furnish to Dr.

    Kirkland,      any       questions          it    would      like   Dr.

    Kirkland      to   ask    or       issues    it    would     like   Dr.

    Kirkland to address by May 3, 2018.

 (5) Dr. Kirkland is to file his report with the

    court by no later than May 25, 2018.                       He is also


                                   2
   Case 2:17-cr-00038-MHT-GMB Document 132 Filed 04/27/18 Page 3 of 3




       to    provide     copies     to   counsel      for     defendant

       Perez-Rives and the United States.

    (6) The      Department        of     Justice       shall        have

       responsibility for the costs of said examination.

       See    Guide    to   Judiciary      Policy,     Vol.     7,      Pt.

       A § 320.20.20.

    The clerk of the court is DIRECTED to furnish a

copy of this order to Dr. Kirkland.

    DONE, this the 27th day of April, 2018.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   3
